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 8                                     UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          Case No. 1:16-cr-00176-DAD-BAM-9
12                        Plaintiff,
13           v.                                         ORDER GRANTING MOTION TO DISMISS
                                                        INDICTMENT
14   FEDERICO GARCIA,
                                                        (Docs. 107, 109)
15                        Defendants.
16

17           The United States of America, having moved this Court to dismiss the indictment in this

18   action as to above-named defendant only pursuant to Rule 48(a) of the Federal Rules of Criminal

19   Procedure, without prejudice and in the interest of justice and good cause appearing;

20           The indictment shall be dismissed without prejudice as to the above named defendant only

21   in the interest of justice.

22           The clerk of the court is directed to close the case as to this defendant only.

23   IT IS SO ORDERED.
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         Dated:     March 8, 2017
25                                                         UNITED STATES DISTRICT JUDGE

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